                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
                                                    )
v.                                                  )       Criminal No. 3:12-00170
                                                    )       Judge Trauger
[3] ELICIO FUERTE-BARRIGA                           )
                                                    )

                                           ORDER

         Given the contents of the filing made by attorney James A. Fraser on September 11, 2013

(Docket No. 80), it is hereby ORDERED that Assistant Federal Public Defender David Baker

appear at the status conference scheduled in this case on Friday, September 27, 2013, at 2:00

p.m.

         It is so ORDERED.

         ENTER this 23rd day of September 2013.



                                                    ________________________________
                                                          ALETA A. TRAUGER
                                                            U.S. District Judge




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